          Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 1 of 11


     Tanya Forsheit (CA State Bar No. 192472)
 1   Dana R. Green (pro hac vice pending)
     THE NEW YORK TIMES COMPANY
 2   Legal Department
     620 8th Avenue, 13th Floor
 3   New York, NY 10018
     Telephone:     (212) 556-1234
 4   Facsimile:     (212) 556-4634
     Email: tanya.forsheit@nytimes.com
 5          dana.green@nytimes.com
 6   Attorneys for Non-Party Media Entity
     THE NEW YORK TIMES COMPANY
 7

 8

 9                           IN THE UNITED STATES DISTRICT COURT
                            THE NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN JOSE DIVISION
11                                               Case No. 5:22-cv-04486-BLF
     LIV GOLF INC.,
12                                              REPLY MEMORANDUM OF LAW IN
             Plaintiff,                         SUPPORT OF MOTION OF NON-PARTY
13                                              MEDIA ENTITY THE NEW YORK TIMES
     v.                                         COMPANY FOR AN ORDER TO
14                                              INTERVENE AND FOR AN ORDER
     PGA TOUR, INC.,                            UNSEALING COURT RECORDS
15
             Defendant and Counter-Plaintiff,
16
     v.
17
     LIV GOLF INC., PUBLIC INVESTMENT
18   FUND OF THE KINGDOM OF SAUDI
19   ARABIA, and YASIR OTHMAN AL-
     RUMAYYAN
20
             Counter-Defendants.
21

22

23

24

25

26

27

28
                                               i
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
       Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 2 of 11


 1          The public interest in understanding these proceedings, the conduct of the parties, and the

 2   basis and merits of the Court’s decisions is of unusual and national significance. Among the

 3   issues presented, this Court’s determinations regarding immunity and jurisdiction have been

 4   deemed precedent-setting even by the parties themselves, with the potential to reshape this area

 5   of the law. The parties’ submissions and evidence on those issues and the Court’s determination

 6   of these issues were dispositive of the PGA Tour’s (the “Tour”) claims against the Public

 7   Investment Fund (“PIF”) and Mr. Al-Rumayyan. As such, they were not tangential but central to

 8   how the case would unfold. When issues before a court are more than tangential, the good cause

 9   standard ceases to govern sealing and the parties must come forward with a compelling reason to

10   overcome the public interest.

11          In opposition, the parties argue that the motion is untimely or that the right of access has

12   been waived or is foreclosed by prior decisions. These arguments misunderstand the principles at

13   stake. The Times seeks to vindicate a right of access that belongs to any member of the public.

14   That right can be raised at any time and cannot be forfeited. Indeed, the court needs no

15   intervenor to enforce that right on behalf of the public, sua sponte.

16          The parties next seek to shift the burden onto the public, arguing that The Times, as

17   intervenor, must justify unsealing the records. That, too, is wrong. The parties seek to maintain

18   sealing of records that are more than tangentially related to claims in the litigation; they bear the

19   burden of continued justification. Here, they argue only that disclosure will cause competitive

20   harm—but that justification carries little weight now that the parties have decided to partner,

21   rather than compete.

22          Lastly, the parties argue that The Times has not argued, with sufficient specificity, which

23   records should be unsealed. It is The Times’s position—consistent with the law—that judicial

24   records should be public unless continued sealing is justified. Nevertheless, The Times is

25   mindful of the volume of material under seal and the burden this imposes on the Court. In the

26   interests of efficiency, The Times narrows its request and sets out in Exhibit A particular records

27   to which it seeks access.

28
                                               1
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
         Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 3 of 11


 1                 I. THE TIMES’S MOTION IS TIMELY AND APPROPRIATE

 2          LIV Golf, Inc. (“LIV”) argues that The Times’s “delay” in moving to unseal counsels

 3   against intervention or acts as a waiver. Dkt. 469 (“LIV Opp.”) at 2. But the only case LIV relies

 4   on rejected that argument: “delays measured in years have been tolerated where an intervenor is

 5   pressing the public’s right of access to judicial records.” San Jose Mercury News, Inc. v. United

 6   States Dist. Ct., 187 F.3d 1096, 1101 (9th Cir. 1999).1 That is because “if a motion to intervene

 7   is denied as untimely, it is likely that subsequent motions to intervene will also be held untimely,

 8   stymying the public’s right of access altogether.” Id. LIV also suggests that it somehow relied on

 9   sealing and therefore it will be prejudiced by intervention. LIV Opp. 4. But that argument, too,

10   specifically was rejected by the Ninth Circuit. See San Jose Mercury News, 187 F.3d 1101.

11                    II. THE PARTIES OPPOSING UNSEALING MISSTATE

12          THE APPLICABLE BURDEN OF PROOF AND STANDARDS OF REVIEW

13          The parties argue that, because the records already have been sealed, The Times bears the

14   burden of showing why the records should be unsealed. LIV Opp. 5; Dkt. 470 (“Tour Opp.”) at

15   6. But when it comes to materials that are more than “tangentially” related to the merits of a case,

16   public access is the “default” standard. Kamakana v. City and Cty. Of Honolulu, 447 F.3d 1172,

17   1182 (9th Cir. 2006). See also Foltz v. State Farm, 331 F.3d 1122, 1134 (9th Cir. 2003) (“In this

18   circuit, we start with a strong presumption in favor of access to court records.” (collecting

19   cases)). As this Court previously has explained, “[c]ompelling reasons must continue to exist to

20   keep judicial records sealed. Therefore, in a motion to unseal documents, the burden of

21   demonstrating the continued need for secrecy is placed on the party opposing the motion to

22   unseal.” Heath v. Google Inc., No. 15-cv-01824-BLF, 2017 U.S. Dist. LEXIS 129110, at *3

23   (N.D. Cal. Aug. 14, 2017) (citation omitted). LIV’s claim that the public right of access to

24   complaints and other public filings “does not require access to previously sealed portions” is

25   simply wrong and is contrary even to the cases it cites. See LIV Opp. 4-5.

26
     1
27    LIV also asserts that after three years, “the local rules establish a strong presumption of
     unsealing,” further demonstrating that motions to intervene can be brought at any time—even
28   years after litigation ends. LIV Opp. 9.

                                               2
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
         Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 4 of 11


 1          It is only “when a party attaches a sealed discovery document to a nondispositive motion

 2   [that] the usual presumption of the public’s right of access is rebutted, so that the party seeking

 3   disclosure must present sufficiently compelling reasons why the sealed discovery document

 4   should be released.” Phillips v. Gen Motors Corp., 307 F.3d 1206, 1213 (9th Cir. 2002)

 5   (emphasis added). But the Ninth Circuit has cautioned that this “Phillips exception” is “expressly

 6   limited to the status of materials . . . attached to a non-dispositive motion.” Foltz, 331 F.3d at

 7   1135 (emphasis in original). And even when the burden is on the party seeking unsealing, the

 8   public interest must properly be considered. LIV’s assertion that the “‘private interests of the

 9   litigants’ are ‘the only weights on the scale’” is a misquotation. LIV Opp. 2. In fact, the quoted

10   case states that “the private interests of litigants are not the only weights on the scale” once

11   discovery materials are filed with the court. Kamakana, 447 F.3d at 1180.

12          Finally, when it comes to the Court’s prior sealing decisions, LIV at times appears to

13   invoke res judicata principles. See, e.g., LIV Opp. 1, 8-9. That is, of course, not relevant here. A

14   court may reconsider its prior sealing motions de novo at any time. See Dkt. 460 (“NYT Mot.”)

15   at 8-9 (collecting cases in which court reconsidered and reversed prior sealing sua sponte or in

16   response to intervenors).

17                     III. THE RECORDS AT ISSUE SHOULD BE UNSEALED

18          The Times seeks access to pleadings, motion papers, supporting exhibits, and judicial

19   orders that concern PIF and Mr. Al-Rumayyan’s claims that they are not subject to the court’s

20   jurisdiction and are shielded by sovereign immunity.2 Those issues were presented in essentially

21   three contexts: 1) in opposition to discovery; 2) as part of the Tour’s Counterclaim; and 3) as part

22   of PIF and Mr. Al-Rumayyan’s motion to dismiss. See Exhibit A.

23

24

25

26
     2
      Non-party Clout Public Affairs, LLC has filed an opposition to unsealing certain records. Dkt.
27   467. The submission opposes unsealing Dkt. 423 and its exhibits, filed in connection with the
     parties’ motions to stay discovery, and Dkt. 332-7, an exhibit to LIV’s motion to bifurcate. The
28   Times does not seek unsealing of these records. See Exhibit A.

                                               3
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
       Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 5 of 11


 1          A.      The Records Go to the Merits of the Counterclaim and Therefore

 2                  Compelling Reasons Must Be Shown to Justify Continued Sealing

 3          As to the first context, The Times seeks to unseal records that initially related to a

 4   November 2022 Tour motion to compel discovery from PIF and Mr. Al-Rumayyan. See Exhibit

 5   A (Requests Numbered 1-8, 10-11). Although framed as a discovery dispute, the substantive

 6   legal issue was whether PIF and Mr. Al-Rumayyan are subject to the Court’s jurisdiction or are

 7   protected by sovereign and common law immunity. See Order dated February 9, 2023, Dkt. 265

 8   (“February 9 Order”). At the time the Court sealed or redacted those records, PIF and Mr. Al-

 9   Rumayyan were not parties to the case. The records therefore concerned only the adjudication of

10   third party discovery. Consequently, the Court subjected the parties’ sealing requests to a “good

11   cause” standard. See, e.g., Dkts. 373, 405 (orders partially granting sealing pursuant to “good

12   cause” standard).

13          But the appropriate standard of review changed once the Tour asserted claims against PIF

14   and Mr. Al-Rumayyan. See Order dated February 22, 2023, Dkt. 280. Not only did PIF and Mr.

15   Al-Rumayyan become parties to the proceedings, but the legal issues were no longer tangential

16   but central to how the case would unfold. That is because the determinations made in the

17   February 9 Order—in which the Court held that PIF and Mr. Al-Rumayyan are subject to the

18   court’s jurisdiction and are not shielded by sovereign or common law immunity—apply with

19   equal force to the Tour’s Counterclaim against PIF and Mr. Al-Rumayyan.

20          This change is evident in the parties’ own submissions. Once they were defendants in this

21   action, PIF and Mr. Al-Rumayyan urgently petitioned for de novo review of the February 9

22   Order, arguing it was “an extraordinary infringement on the sovereignty of a foreign state” and

23   that the order “created a genuinely unprecedented commercial activity exception to the common

24   law immunity applicable to foreign government officials.” Dkt. 306 at 1. The Kingdom of Saudi

25   Arabia filed an unusual intervention and similarly asserted, in favor of reconsideration, that the

26   February 9 Order was directly relevant to PIF and Mr. Al-Rumayyan’s forthcoming motion to

27   dismiss. See Dkt. 307-1 at 2. When that motion for reconsideration was denied, PIF and Mr. Al-

28   Rumayyan appealed to the Ninth Circuit. The Public Investment Fund v. PGA Tour, Inc., No. 23-
                                               4
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
       Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 6 of 11


 1   15530 (9th Cir. Apr. 19, 2023). There, they argued that their claims of sovereign immunity

 2   affected not just discovery but were an issue that “must be decided before the suit can proceed.”

 3   Id., Dkt. 9 at 2, 4. And, indeed, personal jurisdiction and sovereign immunity were central to PIF

 4   and Mr. Al-Rumayyan’s motion to dismiss. See Dkt. 436 (Motion to Dismiss).

 5          As the Court cautioned when initially granting sealing to these records, “the Court may

 6   reach different conclusions regarding sealing this information under different standards or in a

 7   different context.” Dkt. 373 at 2. Such a change is presented here. Although ordinarily third party

 8   discovery disputes may be subject to a “good cause” standard, that standard is no longer

 9   appropriate. See Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1101–02 (9th Cir. 2016)

10   (records “more than tangentially related to the merits of a case” may be sealed only upon a

11   showing of “compelling reasons” for sealing that outweigh the general history of access and the

12   public policies favoring disclosure). As this Court explained in its February 21 Order, “[T]he

13   “focus” of the inquiry regarding which standard applies to a motion to seal is not whether a

14   motion is dispositive or nondispositive, but rather “whether the motion at issue is more than

15   tangentially related to the underlying cause of action.” Dkt. 279 at 2:19-2:22 (emphasis added).

16   Once the counterclaim was brought, issues of jurisdiction and immunity were not just related to

17   but were dispositive of Tour’s cause of action against PIF and Mr. Al-Rumayyan.

18          As this Court previously held, Tour’s Counterclaim, Dkt. 238, and any documents

19   attached to it, are also subject to that heightened standard, requiring “compelling” reasons to

20   maintain sealing. See Dkt. 279 at 2:18-2:19. And it is well-settled that dispositive motions, such

21   as PIF and Mr. Al-Rumayyan’s motion to dismiss, Dkt. 436, are to be public unless “compelling

22   reasons” are shown for sealing. Ctr. for Auto Safety, 809 F.3d at 1098-1100.

23          B.      There Is a Substantial Public Interest in the Sealed Judicial Records
24          Because records concerning the Court’s jurisdiction over PIF and Mr. Al-Rumayyan were
25   dispositive of claims in this case, the parties must show “compelling reasons” for sealing that
26   outweigh the strong presumption of public access. Id. at 1101–02. When it comes to the public
27   interest, LIV argues that “[t]he sealing inquiry looks only at the ‘public interest in understanding
28   the judicial process.’” LIV Opp. 6 (quoting Kamakana, 447 F.3d at 1179). But LIV misquotes
                                               5
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
       Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 7 of 11


 1   Kamakana. What the decision actually says—and what courts repeatedly have emphasized—is

 2   that the public interest concerns “the public’s understanding of the judicial process and of

 3   significant public events.” Kamakana, 447 F.3d at 1179 (collecting cases) (emphasis added).

 4          It is obvious that this case concerns “significant public events”: in the blunt words of the

 5   Tour Commissioner Jay Monahan, “you’d have to be living under a rock not to know there are

 6   significant implications.” PGA Tour, Twitter (June 12, 2022), https://tinyurl.com/3rb7375d. At

 7   issue are allegations that a major professional sport was run as an illegal monopsony; allegations

 8   that a foreign state, using its sovereign wealth fund and claiming the privileges of sovereign

 9   immunity, committed torts; and allegations that both parties attempted to coopt the American

10   political process in their favor. Arguably, it appears that the parties’ mutual claims of anti-

11   competitive behavior were settled in order to create an even less competitive market. Such

12   conduct only increases the public interest in understanding the litigation.

13          Moreover, the records The Times seeks access to are specific to understanding the

14   judicial process. The records concern the Court’s determination that PIF and Mr. Al-Rumayyan

15   are subject to jurisdiction and are not shielded by sovereign immunity. Had the Court reached a

16   different outcome, it would have ended the Tour’s Counterclaim. The parties have repeatedly

17   emphasized in court proceedings and in public statements that this is a matter of first impression

18   and the Court’s determination set important legal precedent with far-reaching implications. See,

19   e.g., No. 23-15530 (9th Cir. Apr. 19, 2023), Dkt. 9. at 2 (PIF and Mr. Al-Rumayyan arguing that

20   this Court engaged in a “novel interpretation” of the law, raising “issues of first impression as to

21   the scope of sovereign immunity.”); U.S. Senate, Homeland Sec. and Gov’t Affairs Comm.,

22   Statement of PGA Tour COO (July 11, 2003) at 1, https://tinyurl.com/yzw2n6vy (“As part of the

23   litigation, we were successful in securing a court ruling that [PIF] was not protected under

24   sovereign immunity with respect to litigation discovery and potentially liability, something

25   which had never been done before in the United States.”).

26          The determination of this issue is not only dispositive to the Counterclaim in this case but

27   impacts other jurisdictions and proceedings. For example, as part of its acquisition of English

28   soccer club Newcastle United, PIF made legally binding representations in the United Kingdom
                                               6
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
         Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 8 of 11


 1   that it is not controlled by the Saudi state. See, e.g., David Hytner and Ed Aarons, Angry Premier

 2   League clubs to demand talks over Newcastle ownership, Guardian (Mar. 2, 2023),

 3   https://tinyurl.com/yfukdzze. Those representations are obviously at odds with the PIF’s

 4   representations to this court.3 And how PIF’s investment activities implicate sovereign immunity

 5   is an issue that has been and continues to be at issue in other litigation. See, e.g., Sakab Saudi

 6   Holding Co. et al. v Al Jabri, et al., 2023 ONSC 2754, ¶¶ 10-14 (Can.), available at:

 7   https://tinyurl.com/42uasb47; In re Terrorist Attacks, 349 F. Supp. 2d. 765 (SDNY 2005).

 8          Nevertheless, the sealing in this case prevents the public from fully understanding the

 9   merits of this Court’s determination of these issues and the decision’s impact. This is reflected,

10   for example, in academic analysis of the February 9 Order. See, e.g., Prof. Ingrid Weuth Brunk,

11   PGA v. LIV: Golf, Discovery, Immunity and PIF, Transnat’l Lit. Blog (Mar. 9, 2023),

12   https://tinyurl.com/yzc6kkkd (analyzing why “the February 9 opinion . . . raises issues with

13   enduring significance for this case and others” but repeatedly noting that redaction and sealing

14   prevent full analysis of the issues). The Court’s determination of key issues such as jurisdiction,

15   waiver, and immunity turned on sealed facts presented to the court. And among those factual

16   submissions, it appears that the Shareholder Agreement carried particular weight. See, e.g., Dkt.

17   225 at 1-2 (asserting that the Shareholder Agreement “directly contradicted” PIF and Mr. Al-

18   Rumayyan’s claims regarding sovereign immunity) & 4 (arguing the Shareholder Agreement

19   was “conclusive proof” that the court has jurisdiction over PIF and Mr. Al-Rumayyan). Without

20   access to the factual premise for the Court’s decisions, the public cannot fully evaluate the

21   Court’s reasoning or the parties’ positions.

22          C.      The Parties Fail to Show a Compelling Interest that Overcomes the Public
                    Right of Access
23
            It appears that the primary (if not exclusive) basis for sealing the records at issue is the
24
     asserted risk of competitive harm. But, contrary to the Tour and LIV’s arguments, see Tour Opp.
25

26
     3
      Whether PIF and Mr. Al-Rumayyan misled the court also is at issue in the records to which The
27   Times seeks access, see Dkts. 225 & 230, matters that go to the heart of the purpose of public
     access. See, e.g., Richmond Newspapers v. Virginia, 448 U.S. 555, 569 (1980) (public access
28   discourages “misconduct of participants.”).

                                               7
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
       Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 9 of 11


 1   8; LIV Opp. 9, it cannot reasonably be disputed that the parties are in a radically different

 2   competitive posture now to when the sealing orders were granted. A year ago, the Tour accused

 3   Saudi Arabia of using PIF and LIV to “sportswash the recent history of Saudi atrocities.” Dkt.

 4   108 at 54. The Tour Commissioner linked LIV to the 9/11 terrorist attacks. See PGA Tour,

 5   Twitter (June 12, 2022), https://tinyurl.com/3znfk4by. The Tour directly lobbied Congress to

 6   wield political influence against LIV and PIF’s business activities, citing Saudi Arabia’s record

 7   of human rights abuses. Sen. Chris Murphy. Twitter (June 6, 2023),

 8   https://tinyurl.com/3wsek66x. And LIV, for its part, asserted that “[e]liminating LIV is the

 9   Tour’s avowed strategy” via “illegal bully tactics,” Dkt. 378 at 2, 8, and also lobbied Congress.

10   Stephanie Kirchgaessner, US congressman accuses LIV CEO Greg Norman of pushing Saudi

11   ‘propaganda,’ Guardian (Sept. 22, 2022), https://tinyurl.com/mr3yetpj.

12          Now, the parties have announced that the Tour, LIV, and the European Tour will merge

13   into a unified, for-profit LLC. See Press Release, PGA Tour, PGA TOUR, DP World Tour and

14   PIF announce newly formed commercial entity to unify golf (June 6, 2023),

15   https://tinyurl.com/mrxxjfmd. The parties have given joint statements and interviews in glowing

16   terms about their “transformational partnership.” Id. The Tour has asserted “[t]his will engender

17   a new era in golf, for the better,” and praised Mr. Al-Rumayyan for his “vision and collaborative

18   and forward-thinking approach.” Id. Mr. Al-Rumayyan, in turn, has praised the “partnership” for

19   “unifying” golf, id., saying “instead of competing, we’re going to be complemented” and

20   confirming that PIF will invest “potentially billions of dollars” in the partnership. CNBC, Full

21   Transcript: CNBC’s David Faber Speaks with PIF Governor Yasir Al-Rumayyan & PGA Tour

22   Commissioner Jay Monahan on Announcement of LIV Golf Merging with PGA Tour (June 6,

23   2023), https://tinyurl.com/ybpbunst. Tour leadership repeatedly has publicly emphasized how

24   “circumstances changed” between the parties “from a confrontation to now being partners.”

25   ASAP Sports, PGA Tour Media Conference Transcript (June 6, 2023),

26   https://tinyurl.com/3pczbf3f. As the Tour’s Commissioner stated when announcing the deal, “We

27   were competing against LIV” but the partnership will “take the competitor off the board, to have

28   them exist as a partner.” Id. The parties’ attempts to distance themselves from these statements
                                               8
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
      Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 10 of 11


 1   are unavailing.

 2          Finally, to the extent that sealed information already has been made public, the risk of

 3   harm obviously is mooted and the records should be unsealed. Forbes Media LLC v United

 4   States, 548 F. Supp. 3d 872, 882 (N.D. Cal. 2021) (denying sealing to information already made

 5   public: “[T]he cat’s out of the bag. Secrecy is a one-way street: Once information is published, it

 6   cannot be made secret again.” (quotation omitted)). For example, at a hearing on January 13,

 7   2023, the Tour handed up to the court a Power Point presentation in support of its arguments that

 8   PIF and Mr. Al-Rumayyan are subject to jurisdiction and not shielded by immunity. A redacted

 9   copy of the presentation is available to the public. Dkt. 224-1. But it appears that certain

10   information already has been disclosed. Compare Dkt. 224-1 at 7 (redacting the year LIV was

11   founded and PIF’s percentage ownership) with Dkt. 221 at 10:7-10:12 (transcript of

12   proceedings); and Dkt. 238 at 3 (“PIF and Mr. Al-Rumayyan created LIV in 2021 . . . PIF owns

13   at least 93% of LIV and controls its board”). The Times is troubled to see that the parties sought

14   sealing for such high-level information, with no plausible likelihood of competitive harm. But to

15   the extent that this and other redacted information already is publicly available, it should be

16   unredacted.

17                                           IV. CONCLUSION

18          For all of the reasons set out above, The Times respectfully requests that the Court grant

19   its motion to intervene and issue an order unsealing the records in this case. To the extent that

20   there are interests that continue to justify sealing, The Times respectfully requests that the Court

21   consider whether redaction of specific portions of the records may be a more appropriate remedy

22   than wholesale sealing.

23   DATED: July 18, 2023                          THE NEW YORK TIMES COMPANY

24                                                   By:/s/ Tanya Forsheit
                                                        TANYA FORSHEIT
25                                                      DANA R. GREEN
26
                                                     Attorneys for Non-Party Media Entity
27                                                   The New York Times Company

28
                                               9
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
      Case 5:22-cv-04486-BLF Document 473 Filed 07/18/23 Page 11 of 11


 1                                                 Exhibit A
     For the court’s convenience, The Times identifies below the lead docket number of the sealed or
 2   redacted records to which it seeks access, the date the records were filed with the court, a brief
 3   description of the records at issue, the nature of the sealing, the docket number of the parties’
     motion(s) requesting seal, and the docket number of the Court’s order granting sealing.
 4

 5         Dkt     Date        Description                           Nature of     Motion to    Sealing
           No      filed                                             the           Seal         Order
 6                                                                   Sealing
      1.   148     11/9/22     PGA Motion to Compel                  Redacted      147          373
 7                             PIF/YAR’s subpoena compliance         and sealed
                               and attachments filed under seal
 8    2.   166     11/22/22    PIF/YAR Motion to Quash and           Redacted      165          373
                               Opposition to Dkt 148 Motion to       and sealed
 9                             Compel and attachments filed
                               under seal
10    3.   169     12/2/22     PGA Response to Dkt. 166              Redacted      168          373
                               PIF/YAR’s Motion to Quash and         and sealed    174
11                             attachments filed under seal
      4.   173     12/6/22     PIF/YAR Reply iso Dkt. 166            Redacted      172          373
12                             Motion to Quash                                     177
      5.   209     1/9/23      PGA Supplemental Brief iso Dkt.       Redacted      208          373
13                             148 Motion to Compel                                222
                               PIF/YAR’s Subpoena
14                             Compliance and attachments filed
                               under seal
15    6.   223-1   1/17/23     PGA Presentation from Hearing         Redacted      223          373
                               re Motion to Compel                                 240
16    7.   225     1/17/23     PGA Supplemental Memorandum           Redacted
                               iso Dkt. 148 Motion to Compel
17                             and attachment filed under seal
      8.   230     1/20/23     PIF/YAR Response to Dkt. 225          Redacted      229          373
18                             PGA Supplemental Memorandum                         259
                               iso Dkt. 148 Motion to Compel
19    9.   238     1/24/23     PGA Motion to Add                     Redacted      237          279
                               Counterclaim and attachments,                       260
20                             including redacted Counterclaim
      10. 265/     2/9/23      Order Granting Motion to Compel       Redacted      277          266
21         380                 and Denying Motions to Quash                        281
22    11. 322      3/10/23     PGA Opposition to Dkt. 306            Redacted      321          405
                               PIF/YAR’s Motion for De Novo                        333
23                             Review of February 9 Order
      12. 436      5/18/23     PIF/YAR Motion to Dismiss             Redacted      435          N/A
24                                                                                 450
25

26

27

28
                                               10
     THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION TO UNSEAL COURT RECORDS
                                  Case No. 5:22-cv-04486-BLF
